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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

  BENNIE G. THOMPSON

                      Plaintiff,
                                             Case No. 1:21-cv-400 APM
  v.

  DONALD J. TRUMP, et al.

                       Defendants.


                                   [PROPOSED] ORDER


       This matter is before the Court on Donald J. Trump’s Consent Motion for an

Extension of Time to Answer or Otherwise Plead (“Motion”). For the reasons stated

in the Motion and for good cause shown, the Motion is GRANTED and Mr. Trump

shall file his answer or otherwise respond to the Complaint by no later than April

26, 2021.



       Dated: _________________              __________________________________
                                             Amit P. Mehta
                                             United States District Judge
